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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 IN RE:
                                                     Case No. 22-40503
 SERVICE ONE LLC                                     Chapter 11

                                   Debtor

                        TRUSTEE’S MOTION FOR AUTHORITY TO
                       REJECT UNEXPIRED REAL PROPERTY LEASE

YOUR RIGHTS MAY BE AFFECTED BY THE RELIEF SOUGHT IN THIS PLEADING. YOU SHOULD READ THIS PLEADING
CAREFULLY AND DISCUSS IT WITH YOUR ATTORNEY, IF YOU HAVE ONE IN THIS BANKRUPTCY CASE. IF YOU OPPOSE
THE RELIEF SOUGHT BY THIS PLEADING, YOU MUST FILE A WRITTEN OBJECTION, EXPLAINING THE FACTUAL
AND/OR LEGAL BASIS FOR OPPOSING THE RELIEF.

NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A WRITTEN OBJECTION IS FILED WITH THE CLERK OF
THE UNITED STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY FILING THIS PLEADING WITHIN
TWENTY-ONE (21) DAYS FROM THE DATE OF SERVICE SHOWN IN THE CERTIFICATE OF SERVICE UNLESS
THE COURT SHORTENS OR EXTENDS THE TIME FOR FILING SUCH OBJECTION. IF NO OBJECTION IS TIMELY SERVED
AND FILED, THIS PLEADING SHALL BE DEEMED TO BE UNOPPOSED, AND THE COURT MAY ENTER AN ORDER
GRANTING THE RELIEF SOUGHT. IF AN OBJECTION IS FILED AND SERVED IN A TIMELY MANNER, THE COURT WILL
THEREAFTER SET A HEARING WITH APPROPRIATE NOTICE. IF YOU FAIL TO APPEAR AT THE HEARING, YOUR
OBJECTION MAY BE STRICKEN. THE COURT RESERVES THE RIGHT TO SET A HEARING ON ANY MATTER.


        COMES NOW Mark A. Weisbart, the Subchapter V Trustee of Service One, LLC (the

“Trustee”) files this Motion for Authority to Reject Unexpired Real Property Lease (the “Motion”),

pursuant to sections 105(a) and 365 and 554 of title 11 of the United States Code, 11 U.S.C. §§

101, et. seq. (the “Bankruptcy Code”) and Rules 6006(d) of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), seeking entry of an order (i) authorizing the Debtor to reject

the Lease (as defined below) effective of as April 29, 2022, or the date of filing of this Motion and

(ii) granting certain related relief. In support of relief requested, the Debtor respectfully represents

the following:

                                 I. JURISDICTION AND VENUE

        1.       The Court has jurisdiction over this bankruptcy case and the subject matter of this

Motion pursuant to 28 U.S.C. §§ 157 and 1334. This matter involves the rejection of an executory



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contract pursuant to 11 U.S.C. § 365; thus, it constitutes a core proceeding under 28 U.S.C. §

157(b)(2)(A) and (O).

        2.      Venue is proper in this Court under 28 U.S.C. §§ 1408 and 1409.

        3.      The statutory predicates for the relief requested in the Motion are Bankruptcy Code

Sections 105(a) and 365 and Bankruptcy Rule 6006(d).

                    II. PROCEDURAL AND FACTUAL BACKGROUND

        4.      On April 21, 2022 (the “Petition Date”), Service One, LLC (the “Debtor”) filed a

voluntary petition under chapter 11 of the Bankruptcy Code. The Debtor’s corporate headquarters

is located at 4801 Keller Springs Road, Addison, Texas 75001. As reflected on the Petition, the

Debtor chose to proceed under Subchapter V of Chapter 11 in accordance with section 1182 of the

Bankruptcy Code (the “SubV Designation”). Thereafter, Mark A. Weisbart was appointed the

Subchapter V Trustee for this case pursuant to section 1183 of the Bankruptcy Code.

        5.      As disputes existed between the Debtor’s two members, Sandra Perry (“Perry”) and

Charles Tomasello (“Tomasello,” and with Perry, the “Members”) each of whom own a 50%

membership interest in the Debtor, the Debtor on April 25, 2022, filed its Motion to Remove the

Debtor from Possession and Authorize Subchapter V Trustee to Operate the Business of the Debtor

(“Removal Motion”) seeking to be removed as a debtor-in-possession pursuant to section 1185 of

the Bankruptcy Code and requested that the Trustee be authorized to manage and operate the

Debtor’s business pursuant to section 1183(b)(5).

        6.      By order entered on April 28, 2022, the Court approved the Removal Motion and

vested the Trustee with authority to manage and operate the Debtor’s business.

        7.      The Debtor operates a construction business which acts as a general contractor in

the renovation of residential properties, new home construction, roofing and the restoration of




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rental properties.

        8.      As of the Petition Date, the Debtor, as tenant, leased 1,065 square feet of space

located at 4839A Keller Springs, Addison, TX 75001 (the “Space”) as assignee of a certain

Office/Showroom/Warehouse Lease Agreement entered by and between Addison-Keller Springs,

Ltd., as landlord, and Fab Maid Clean, LLC, as tenant, dated December 14, 2020 (the “Initial

Lease”) as extended and assigned to the Debtor through an Addendum to the Lease Agreement

between Addison-Keller Springs, landlord, and Fab Maid Clean, LLC, tenant and Service One,

LLC, as assuming tenant, executed on November 22, 2021 (the “Addendum,” and with the Initial

Lease hereinafter referred to as, the “Lease”). The Lease expires on December 31, 2022. Under

the Lease the Debtor pays monthly basic rent of $843.00 plus an electric charge of $150.00 and an

estimated CAM charge which, as of execution of the Addendum, was $293.00 (collectively, the

“Lease Costs”).

        9.      Currently, the Debtor is not utilizing the Space in its business other than as a storage

space for a few pieces of office furniture. Moreover, the Space is not necessary for the continued

or future business operations or for an effective reorganization of the Debtor.

        10.     Upon information and belief, the Landlord has a party interested in the Space and

would, upon the Lease’s rejection, re-lease the Space.

        11.     Accordingly it is the Trustee’s sound business judgment that the Lease constitutes

a significant burden and hindrance to the reorganization effort for the Debtor and that rejection of

the Lease would substantially benefit the bankruptcy estate and his creditors.

                                   III. RELIEF REQUESTED

        12.     By this Motion, the Trustee requests entry of an order, substantially in the form of

the Proposed Order, authorizing and approving the rejection of the Lease effective as of April 29,




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2022, or the date of filing of this Motion, pursuant to sections 105(a) and 365(a) of the Bankruptcy

Code and Bankruptcy Rule 6006(d). Trustee, in an exercise of his sound business judgment, has

determined that rejection of the Lease will enhance efforts to successfully reorganize the Debtor’s

financial affairs, reduce the Debtor’s liabilities, provide greater recovery to creditors and for it to

exit bankruptcy on a more stable financial foundation. Given these benefits the Trustee believes

that rejection of the Lease is in the best interests of Debtor’s bankruptcy estate, its creditors, and

other parties-in-interest.

                              IV. ARGUMENT AND AUTHORITY

A. Rejection of the Lease is an Exercise of the Trustee’s Sound Business Judgment

        13.      A trustee, “subject to the court’s approval, may assume or reject any executory

contract or unexpired lease[.]” See, 11 U.S.C. § 365(a).

        14.      Ultimately, the question of whether to assume or reject an unexpired lease is based

on whether the lease benefits the bankruptcy estate. 1 A trustee’s decision to reject an unexpired

executory contract or lease is governed by the deferential “business judgment” standard. 2 Under


1
  Mission Product, 587 U.S. ___, 139 S.Ct. at 1658 (“Section 365(a) enables the debtor (or its trustee), upon
entering bankruptcy, to decide whether the contract is a good deal for the estate going forward. If so, the
debtor will want to assume the contract, fulfilling its obligations while benefiting from the counterparty’s
performance. But if not, the debtor will want to reject the contract, repudiating any further performance of
its duties.
2
   Id. (“The bankruptcy court will generally approve [debtor’s] choice, under the deferential ‘business
judgment’ rule”); NLRB v. Bildisco & Bildisco, 465 U.S. 513, 523 (1984) (stating that the traditional
standard applied by courts to authorize the rejection of an executory contract is that of “business
judgment”); Stewart Title Guaranty Co. v. Old Republic Nat’l Title Ins. Co., 83 F.3d 735, 741 (5th Cir.
1996) (citing In re Murexco Petroleum, Inc., 15 F.3d 60, 62 (5th Cir. 1994)) (“[Section 365(a)] allows a
trustee to relieve the bankruptcy estate of burdensome agreements which have not been completely
performed.”); In re Pilgrim’s Pride Corp., 403 B.R. 413, 422 (Bankr.N.D. Tex. 2009) (“The general rule
is that the decision to reject a given contract should be left to the trustee’s (or debtor in possession’s) sound
business judgment.”) (internal citations omitted); Lubrizol Enterprises, Inc. v. Richmond Metal Finishers,
Inc., 756 F.2d 1043, 1046–47 (4th Cir. 1985) (a debtor’s decision to reject an executory contract can only
be overturned if it “is so manifestly unreasonable that it could not be based on sound business judgment,
but only on bad faith, or whim or caprice”).



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the business judgment standard, courts “should defer to . . . decisions of corporate directors upon

matters entrusted to its business judgment except upon a finding of bad faith or gross abuse of its

‘business discretion.’” 3 Further, “[s]ection 365 enables the trustee to maximize the value of the

debtor’s estate by assuming executory contracts and unexpired leases that benefit the estate and

rejecting those that do not.” 4

        15.       Where the trustee’s business judgment has been reasonably exercised, the court

should approve the rejection of the Lease. Courts do not generally look beyond the “business

judgment” standard because “[m]ore exacting scrutiny would slow the administration of the

debtor’s estate and increase its cost, interfere with the Bankruptcy Code’s provision for private

control of the administration of the estate, and threaten the court’s ability to control a case

impartially.” 5

        16.       Here, the Trustee’s decision to reject the Lease is an appropriate exercise of his

business judgment as rejection will significantly reduce the financial burdens on the Debtor’s

bankruptcy estate. First, the Space is not used in nor is it integral to the Debtor’s current or

continuing business operations it provides no benefit to the estate. Thus, it makes sense for the

Debtor’s estate to incur and pay the Lease Costs when the Lease provides the estate no value in

return. Second, the Trustee does not believe the Lease has any marketable value that could be




3
  Lubrizol, 756 F.2d at 1047. The “business judgment” test is not a strict standard; it merely requires a
showing that either assumption or rejection of the executory contract or unexpired lease will benefit the
debtor’s estate. See N.L.R.B. v. Bildisco (In re Bildisco), 682 F.2d 72, 79 (3d Cir. 1982) (noting that the
“usual test for rejection of an executory contract is simply whether rejection would benefit the estate”),
aff’d, 465 U.S. 513.
4
  L.R.S.C. Co. v. Rickel Home Ctrs., Inc. (In re Rickel Home Ctrs.,Inc.), 209 F.3d 291, 298 (3d Cir. 2000);
see also Stewart Title Guar. Co. v. Old Republic Nat'l Title Ins. Co., 83 F.3d 735, 741 (5th Cir. 1996)
(section 365 of the Bankruptcy Code “allows a trustee to relieve the bankruptcy estate of burdensome
agreements which have not been completely performed”).
5
  Richmond Leasing Co. v. Capital Bank, N.A., 762 F.2d 1303, 1311 (5th Cir. 1985).


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generated through assumption and assignment. Accordingly, the Debtor’s estate’s continued

performance under the Lease would constitute an unnecessary depletion of value of the Debtor’s

estate.

          17.    Trustee, having evaluated the Lease and weighing the costs and benefits of the

obligations of same, has concluded that it’s in the best interest of the Debtor’s bankruptcy estate

and an exercise of his business judgment to reject the Lease. Accordingly, the Trustee’s request

seeking rejection of the Lease should be approved.

B. Rejection of the Lese Nunc Pro Tunc to the April 29, 2022,
   or the Date of Filing of this Motion

          18.    The Trustee further requests that the Court order the rejection of the Lease nunc

pro tunc effective as of April 29, 2022, or the date of the filing of this Motion.

          19.    While section 365 of the Bankruptcy Code does not specifically address the issue,

courts have held that bankruptcy courts may, based on the equities of the circumstances, authorize

rejection retroactive to a date prior to entry of the order authorizing such rejection. 6 The balancing

of equities favors the relief requested herein.


6
  See, e.g., In re Amber’s Store, Inc., 193 B.R. 819,826-27 (Bankr. N.D. Tex. 1996) (“nothing precludes a
bankruptcy court, based on the equities of the case, from approving the . . . rejection of a non-residential
real property lease retroactively to an earlier date”); In re Cafeteria Operators, L.P., 299 B.R. 384 (Bankr.
N.D. Tex. 2003) (approving retroactive rejection to the later of the date the motion to reject was filed or the
date that the leased spaces were vacated); In re At Home Corp., 392 F.3d 1064, 1065 (9th Cir. 2004), cert.
denied 546 U.S. 814 (2005) (“the retroactive date may be earlier than the date on which the landlord retakes
possession of the premises”); In re Chi-Chi’s, Inc., 305 B.R. 396, 399 (Bankr. D. Del. 2004) (after balancing
the equities, a bankruptcy court may approve a rejection retroactive to the date the motion is filed); In re
Fleming Cos., Inc., 304 B.R. 85, 96 (Bankr. D. Del. 2003) (rejection has been allowed nunc pro tunc to the
date of the motion or the date the premises were surrendered); Thinking Machines Corp. v. Mellon Fin.
Servs. Corp. (In re Thinking Machines Corp.), 67 F.3d 1021, 1028 (1st Cir. 1995) (noting that “[i]n the
section 365 context, this means that bankruptcy courts may enter retroactive orders of approval, and should
do so when the balance of equities preponderates in favor of such remediation”); Constant Ltd. Partnership
v. Jamesway Corp. (In re Jamesway Corp.), 179 B.R. 33, 37-38 (S.D.N.Y. 1995) (affirming bankruptcy
court's retroactive approval of lease rejection); Stonebriar Mall Ltd. P'ship v. CCI Wireless, LLC (In re CCI
Wireless, LLC), 297 B.R. 133, 140 (D. Col. 2003) (holding that a bankruptcy court “has authority under
section 365(d)(3) to set the effective date of rejection at least as early as the filing date of the motion to
reject”).


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        20.     Here, the balance of the equities favors rejection nunc pro tunc to April 29, 2022,

or the date of filing of this Motion. As set forth above, the Lease provides no benefit to the

bankruptcy estate, but rather imposes a financial burden. Absent retroactive rejection, the

bankruptcy estate could be forced to incur unnecessary administrative charges and obligations

under the Lease without obtaining any corresponding tangible benefit. By email on April 29, 2022,

the Trustee communicated to Landlord his intention to reject the Lease. The Debtor will not derive

any benefit from the Lease after such notification. Accordingly, the Trustee respectfully submits

that it is fair and equitable for the Court to hold that the Lease is rejected nunc pro tunc to April

29, 2022, or the date this Motion was filed.

                                    V. RULE 6006(d) WAIVER

        21.     In addition to the relief requested and described above, the Trustee respectfully

requests that any order approving this Motion be effective immediately, thereby waiving the

fourteen-day stay period imposed by FED.R.BANKR.P. 6006(d).

                                            VI. PRAYER

        WHEREFORE, Mark A. Weisbart, the Subchapter V Trustee of Service One, LLC,

respectfully requests that the Court enter an order (i) granting the Motion; (ii) authorizing him to

reject the Lease pursuant to Section 365(a) of the Bankruptcy Code; and (iii) granting him such

other and further relief to which he may be justly entitled.




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                                                 Respectfully submitted,

                                                 /s/ James S. Brouner
                                                 Mark A. Weisbart
                                                 Texas Bar No. 21102650
                                                 James S. Brouner
                                                 Texas Bar No. 03087285
                                                 HAYWARD PLLC
                                                 10501 N Central Expy, Suite 106
                                                 Dallas, TX 75231
                                                 (972) 755-7103 Phone/Fax
                                                 MWeisbart@HaywardFirm.com
                                                 JBrouner@HaywardFirm.com

                                                 COUNSEL FOR SUBCHAPTER V TRUSTEE




                                    CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing instrument was served on the
attached mailing matrix, as well as to the below parties, either through the Court’s electronic
notification system as permitted by Appendix 5005 III. E. to the Local Rules of the U.S.
Bankruptcy Court for the Eastern District of Texas, or by first class United States Mail, postage
prepaid on this the 2nd day of May 2022.

 Dryden Company                                      Addison-Keller Springs, Ltd.
 c/o John S. Dryden                                  PO Box 2189
 PO Box 2189                                         Addison, Texas 75001
 Addison, Texas 75001
                                                     46 Corp, GP of Addison-Keller Springs, Ltd.
 Dryden Company                                      c/o Suzanna Dryden Jensen, VP
 c/o John S. Dryden                                  PO Box 2189
 4849 Keller Springs                                 Addison, Texas 75001
 Addison, Texas 75001
                                                     Fab Maid Clean, LLC
 46 Corp, GP of Addison-Keller Springs, Ltd.         c/o Sandra Perry
 c/o Suzanna Dryden Jensen, VP                       4901 Keller Springs, Suite 105
 4849 Keller Springs                                 Addison, Texas 75001
 Addison, Texas 75001
                                                        /s/ James S. Brouner
                                                        James S. Brouner




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Label Matrix for local noticing            22 Rose Street LLC
                                               Document           Page 9 of 14         7 Sky Roofing
0540-4                                     4901 Keller Springs Road, #105              Attn: Brendan O’Connor
Case 22-40503                              Addison, TX 75001-6238                      6302 Windcrest Drive, # 925
Eastern District of Texas                                                              Plano, TX 75024-3013
Sherman
Mon May 2 13:55:28 CDT 2022
7 Sky Roofing                              ADR Plumbing Co.                            AMDG Consultants, LLC
Attn: Brendan O’Connor                     Attn: Paul Brake                            8711 S. FM 148
6302 Windcrest Drive, #925                 3324 Welch Lane                             Scurry, TX 75158-2525
Plano, TX 75024-3013                       Sachse, TX 75048-3187


AME G.C., LLC                              AR Multiple Services                        Aaron Atwell
1671 River View Dr., #B207                 6519 Linden Lane                            PO Box 151
Lewisville, TX 75056-4813                  Dallas, TX 75230-1409                       6637 W. Hwy 199
                                                                                       Springtown, TX 76082-5147


Action Plumbing                            Addison-Keller Springs, Ltd.                William Todd Albin
121 Touchstone Road                        c/o Dryden Company                          5665 Dallas Parkway, Suite 200
Wylie, TX 75098-7528                       Attn: Erik Jensen                           Frisco, TX 75034-7373
                                           4849 Keller Springs
                                           Addison, TX 75001-5912

Alfredo Gallardo                           American Express                            American Express
2608 Squire Place                          Customer Service                            PO Box 981535
Dallas, TX 75234-4775                      PO Box 981535                               El Paso, TX 79998-1535
                                           El Paso, TX 79998-1535


Angel Carrillo                             Annie Olachia                               Arbor Contract Carpet, Inc.
1205 Hillcrest St., 1221                   1027 Grandview Ave.                         PO Box 675096
Mesquite, TX 75149-2103                    Dallas, TX 75223-1515                       Dallas, TX 75267-5096



Atwell Heat & Air                          Beauty Lounge Inc.                          Bezaleel Hernandez
PO Box 151                                 9201 Warren Parkway, Suite 200              1306 W Lavander Ln.
Springtown, TX 76082-0151                  Frisco, TX 75035-6242                       Arlington, TX 76013-5018



Blue Cross Blue Shield of TX               (p)BLUEVINE ANDY SHAW                       Brandon Vega
PO Box 650615                              ATTN BLUEVINE/ANDY SHAW                     510 Lydia Ct.
Dallas, TX 75265-0615                      401 WARREN ST SUITE 300                     Irving, TX 75061-6261
                                           REDWOOD CITY CA 94063-1578


Bryan N. Vega                              Bryan Ramirez                               Charles Tomasello
510 Lydia Ct.                              3210 Konet St.                              7936 Bishop Rd.
Irving, TX 75061-6261                      Irving, TX 75060-4815                       Plano, TX 75024-4016



Christopher Johnson                        (p)CITY OF DALLAS                           City of Grand Prairie
701 Skelly St.                             C O CITY SECRETARYS OFFICE                  300 W. Main Street
Crowley, TX 76036-2315                     DALLAS CITY HALL                            Grand Prairie, TX 75050-5621
                                           1500 MARILLA STREET ROOM 5D SOUTH
                                           DALLAS TX 75201-6390
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Creations Granite & Marble                          Cristian Alexander Aparicio
                                                       Document           Page 10 of 14          Dallas County
1726 Oldfield Dr.                                   1035 Bigwood St.                             Linebarger Goggan Blair & Sampson, LLP
Dallas, TX 75217-1433                               Dallas, TX 75211-2534                        c/o Laurie A. Spindler
                                                                                                 2777 N. Stemmons Frwy
                                                                                                 Suite 1000
                                                                                                 Dallas, TX 75207-2328
Dallas County                                       Damaris Prock                                Daniel Grigsby
Linebarger, Goggan, Blair & Sampson, LLP            2116 Navada Way                              927 Willow Circle N
c/o Laurie A. Spindler                              Justin, TX 76247-6723                        Burleson, TX 76028-5122
2777 N. Stemmons Freeway
Suite 1000
Dallas, TX 75207-2328
Danny Tipton                                        (p)DELL FINANCIAL SERVICES                   Michael Durrschmidt
604 Blevins                                         P O BOX 81577                                1415 Louisiana, 36th Floor
Fort Worth, TX 76111-4704                           AUSTIN TX 78708-1577                         Houston, TX 77002-7360



Dustin Barnes                                       Epifanio Gonzalez                            Ferguson
1708 Usa Drive                                      13354 Emily Rd.                              PO Box 847411
Plano, TX 75025-2650                                Dallas, TX 75240-5978                        Dallas, TX 75284-7411



First Corporate Solutions                           Fix It Right Plumbing                        GE Appliances
914 S. Street                                       PO Box 1201                                  PO Box 840136
Sacramento, CA 95811-7025                           Burleson, TX 76097-1201                      Dallas, TX 75284-0136



Gerardo Marquez Calahorra                           Glass FX, LLC                                Goodman Distribution
1116 Rice Street                                    1671 Riverview Dr.                           4800 Keller Springs Road
Grand Prairie, TX 75050-5961                        Colony, TX 75056-4813                        Addison, TX 75001-6053



Guadalupe Buendia-Bocanegra                         Hazael Fernando Miranda                      Hernandez Multi Contracting LLC
2236 Meadowlark                                     602 Ashby Court                              4801 Keller Springs Rd.
Irving, TX 75060-7236                               Allen, TX 75002-4711                         Addison, TX 75001-5912



Home Depot Credit Services                          Insco Distributing, Inc                      Internal Revenue Service
PO Box 790340                                       12501 Network Blvd.                          PO Box 7346
St. Louis, MO 63179-0340                            San Antonio, TX 78249-3306                   Philadelphia, PA 19101-7346



Jacobo Garza                                        Jesus Contreras                              Jill Woodruff
8814 Cardella Ave.                                  900 Via Balboa                               500 Energy Way, Apt. #2121
Dallas, TX 75217-4241                               Mesquite, TX 75150-3014                      Fort Worth, TX 76102-2699



John Mongogna                                       Jorge Artunduaga                             Jose Manuel Muoz
Albin & Oldner                                      5711 Preston Oaks Rd.                        900 Via Balboa
5665 Dallas Parkway, Suite 200                      Dallas, TX 75254-9000                        Mesquite, TX 75150-3014
Frisco, TX 75034-7373
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Jose Portillo                                      JoseDocument
                                                        Rodriguez        Page 11 of 14            Juan A. Chavez
2901 Runnels St.                                   119 Virginia St.                               9600 Wickersham Road, Apt. 1143
Fort Worth, TX 76106-7459                          Irving, TX 75061-7558                          Dallas, TX 75238-3173



Juan Carlos Flores                                 Juan Guevara                                   Julio Jimenez
9622 Rolling Rock Lane, 270E                       2420 Cambridge Dr.                             4605 Carr St.
Dallas, TX 75238-3048                              Irving, TX 75061-6606                          The Colony, TX 75056-3124



Justin Braden                                      Koetke Consulting LLC                          Landers Carpet Care
123 Sandlewood Ln.                                 120 N South Rd., Unit C                        946 Fairlawn Dr.
Burleson, TX 76028                                 PMB 162                                        Duncanville, TX 75116-3004
                                                   North Conway, NH 03860-5267


Larry Wendt                                        Luis Nolasco                                   Lupita Chavez
3232 E. Adams, Apt. 27                             2641 W. Northgate Drive                        109 Centennial Drive
Arlington, TX 76010                                Irving, TX 75062                               Lewisville, TX 75067-4513



M S International, Inc.                            M&C Multiservices LLC                          MFS Supply
12845 Valley Branch Lane                           6224 Kentwood Place                            31100 Solon Road, Suite 16
Farmers Branch, TX 75234-5813                      Fort Worth, TX 76112-3126                      Solon, OH 44139-3463



Maria G. Chaidez/M&M Remodeling                    Maria Martinez                                 Mario Guapo
3304 Rolling Hills Lane                            2206 San Pablo Dr.                             930 Town Square
Grand Prairie, TX 75052-7069                       Dallas, TX 75227-8738                          Princeton, TX 75407-8902



Merit Professional Services                        Mitchell Holder                                Morosco Supply
PO Box 271712                                      3762 Ashley Ct.                                PO Box 841183
Flower Mound, TX 75027-1712                        Fort Worth, TX 76123-1301                      Dallas, TX 75284-1183



Christopher J. Moser                               Nace & Motley, LLP                             Nathan Sanders
Quilling Selander Lownds Winslett Moser            Attn: Kristi Motley                            124 Woolard Drive
2001 Bryan Street                                  100 Crescent Court, 7th Floor                  Alvarado, TX 76009-8009
Suite 1800                                         Dallas, TX 75201-6900
Dallas, TX 75201-3070

National Contract Flooring                         Nortier Engineering Consultants LLC            NxTGen
PO Box 21437                                       1902 Forest Glen Lane                          PO Box 271152
Little Rock, AR 72221-1437                         Weatherford, TX 76087-8758                     Dallas, TX 75227-1152



Octavio’s Cabinets                                 Office of the U.S. Trustee                     Oliverio Lima
1503 E. Mitchell                                   110 N. College Ave., Suite 300                 506 Alto Drive
Arlington, TX 76010-3005                           Tyler, Texas 75702-7231                        Garland, TX 75040-8019
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                                                  Document                                    Patrick Schultz
10905 Damon Lane                               Quilling Selander Lownds Winslett Moser        4321 Belvedere Drive
Dallas, TX 75229-3839                          2001 Bryan Street                              Plano, TX 75093-6966
                                               Ste 1800
                                               Dallas, TX 75201-3070

Plains Capital Bank                            PlainsCapital Bank                             Procraft Cabinetry
1 Cowboys Way, Unit 250                        c/o Hirsch & Westheimer, P.C.                  2330 Alberta Dr., Ste. 100
Frisco, TX 75034-2002                          1415 Louisiana St.                             Dallas, TX 75229-2063
                                               Suite 3600
                                               Houston, TX 77002-7394

RM Interiors TX LLC                            Riley O’Connor                                 Ronnie Ramos
2925 N. Norwalk                                6302 Windcrest Drive, Apt. #925                18210 Village Drive
Mesa, AZ 85215-1131                            Plano, TX 75024-3013                           Saucier, MS 39574-6510



Rosa Jimenez                                   Ryan Haggard                                   S&A Backhoe & Septic Service LLC
300 North Booth Calloway Road, #208            324 Jasmine Ct.                                106 Mesa Street
Hurst, TX 76053-7241                           Burleson, TX 76028-5311                        Weatherford, TX 76086-4671



Marcus Salitore                                Salvador Garcia (Fernando)                     Sandra Perry
US Trustee Office                              4807 North Colony                              9201 Warren Parkway, Suite 200
110 N. College Ave., Room 300                  The Colony, TX 75056                           Frisco, TX 75035-6242
Tyler, TX 75702-7231


Scheef & Stone, LLP                            Patrick J. Schurr                              Section Stack
Attn: T. Chase Garrett                         Scheef & Stone, L.L.P.                         2920 Telecom Parkway, #125
2600 Network Blvd., Suite 400                  2600 Network Boulevard                         Richardson, TX 75082-0273
Frisco, TX 75034-6010                          Suite 400
                                               Frisco, TX 75034-6010

Service One, LLC                               Sherwin Williams (6288-6)                      Sherwin Williams (7487-2)
4801 Keller Springs Road                       909 Gross Road                                 909 Gross Road
Addison, TX 75001-5912                         Mesquite, TX 75149-2100                        Mesquite, TX 75149-2100



Laurie A. Spindler                             Star Window Coverings LLC                      Stephen Rios
Linebarger, Goggan, Blair & Sampson            2030 East Arbrook Blvd., Ste. 180              6322 Meadowcrest Lane
2777 N. Stemmons Frwy Ste 1000                 Arlington, TX 76014-3798                       Sachse, TX 75048-5512
Dallas, TX 75207-2328


(p)TXU ENERGY RETAIL COMPANY LP                TaskEasy, Inc.                                 Texas Appliance & Builder Supply
CO BANKRUPTCY DEPARTMENT                       669 S. West Temple, Suite 300                  1500 East Interstate 20
PO BOX 650393                                  Salt Lake City, UT 84101-2725                  Arlington, TX 76018-4801
DALLAS TX 75265-0393


Tina Lewandowski                               Charles Tomasello                              Toni Glowinski
1544 Hickory Trail                             c/o Jon Strain                                 10429 W. Palmer Ave.
Allen, TX 75002-4517                           SCHEEF & STONE, LLP                            Melrose Park, IL 60164-1845
                                               2600 Network Boulevard
                                               Suite 400
                                               Frisco, TX 75034-6010
                    Case 22-40503           Doc 48       Filed 05/02/22            Entered 05/02/22 14:00:31           Desc Main
Torio Construction LLC                                 Trash Chomper LLC
                                                          Document            Page 13 of 14                 Two Js Tree and Maintenance
3239 Torio                                             4801 Keller Springs Road                             Attn: Juan Arreozola
Grand Prairie, TX 75054-6780                           Addison, TX 75001-5912                               2625 Riviera Drive
                                                                                                            Garland, TX 75040-4332


U Fix It Appliance Parts                               U.S. Attorney General                                U.S. Small Business Administration
4621 South Cooper Street, #127                         Department of Justice                                10737 Gateway West, #300
Arlington, TX 76017-5856                               Main Justice Building                                El Paso, TX 79935-4910
                                                       10th & Constitution Ave., NW
                                                       Washington, DC 20530-0001

U.S. Small Business Administration                     US Trustee                                           Mark A WEISBART (SBRA V)
409 Third St., SW                                      Office of the U.S. Trustee                           Subchapter V Trustee
Washington, DC 20416-0002                              110 N. College Ave.                                  10501 N Central Expy Suite 106
                                                       Suite 300                                            Dallas, TX 75231-2203
                                                       Tyler, TX 75702-7231

WEX Fleet Universal                                    Waterfall Bath Enclosures                            White’s & Sons
PO Box 4337                                            1312 W. Crosby Rd.                                   DBA All Pro Pest Control Services
Carol Stream, IL 60197-4337                            Carrollton, TX 75006-6908                            2533 Franklin Drive, Suite 2B
                                                                                                            Mesquite, TX 75150-6310


William Adams
1002 East Business 380
Decatur, TX 76234-3152




                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


BlueVine Capital Inc.                                  City of Dallas                                       Dell Financial
401 Warren Street                                      City Hall 2D, South                                  One Dell Way
Redwood City, CA 94063                                 Dallas, TX 75277                                     Round Rock, TX 78682



TXU Energy
PO Box 650638
Dallas, TX 75265




                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)ADR Plumbing Co.                                    (d)Arbor Contract Carpet, Inc.                       (d)Creations Granite & Marble
Attn: Paul Brake                                       PO Box 675096                                        1726 Oldfield Dr.
3324 Welch Lane                                        Dallas, TX 75267-5096                                Dallas, TX 75217-1433
Sachse, TX 75048-3187
                  Case 22-40503      Doc 48     Filed 05/02/22         Entered 05/02/22 14:00:31     Desc Main
(d)Ferguson                                   (d)Fix It Right Plumbing
                                                 Document           Page 14 of 14         (d)Glass FX, LLC
PO Box 847411                                 PO Box 1201                                 1671 Riverview Dr.
Dallas, TX 75284-7411                         Burleson, TX 76097-1201                     Colony, TX 75056-4813



(d)Hernandez Multi Contracting LLC            (d)Home Depot Credit Services               (d)Jesus Contreras
4801 Keller Springs Rd.                       PO Box 790340                               900 Via Balboa
Addison, TX 75001-5912                        St. Louis, MO 63179-0340                    Mesquite, TX 75150-3014



(d)Jose Portillo                              (d)M S International, Inc.                  (d)MFS Supply
2901 Runnels St.                              12845 Valley Branch Lane                    31100 Solon Road, Suite 16
Fort Worth, TX 76106-7459                     Farmers Branch, TX 75234-5813               Solon, OH 44139-3463



(d)Morosco Supply                             (u)Sandra Perry                             (d)Sherwin Williams (6288-6)
PO Box 841183                                                                             909 Gross Road
Dallas, TX 75284-1183                                                                     Mesquite, TX 75149-2100



(d)Sherwin Williams (7487-2)                  (d)Star Window Coverings LLC                (d)Trash Chomper LLC
909 Gross Road                                2030 East Arbrook Blvd., Ste. 180           4801 Keller Springs Road
Mesquite, TX 75149-2100                       Arlington, TX 76014-3798                    Addison, TX 75001-5912



End of Label Matrix
Mailable recipients     132
Bypassed recipients      18
Total                   150
